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                    IN THE UNITED STATES DISTIUCT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

SEAN JORDAN,                                            )
                                                        )
                                  Plaintiff,            )
                                                        )
                   v.                                   )
                                                        )       Case No. 1:18-cv-02315
GENERAL NUTRITION CORPORATION,                          )
GNC HOLDINGS, INC., and GN OLDCO                        )       Honorable Sharon Johnson-Coleman
CORPORATION,                                            )
                                                        )
                                  Defendants.           )

         DEFENDANT GENERAL NUTRITION CORPORATION’S ANSWER TO
                        PLAINTIFF’S COMPLAINT

        Defendant GENERAL NUTRITION CORPORATION (“GNC”) by and through its

attorneys as and for its Answer to Plaintiff’s Complaint (“Complaint”) states as follows:

                                                PARTIES

        1.         Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 1 of the Complaint.

        2.         Admits in response to paragraph 2 of the Complaint only that General Nutrition

Corporation (“GNC”) is a Pennsylvania corporation with its principal place of business in

Pennsylvania.

        3.         By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

        4.         By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

                                     FACTUAL ALLEGATIONS

        5.         Denies each and every allegation contained in paragraph 5 of the Complaint,

except admits that GNC, at times, formulated, labeled, marketed and sold certain dietary

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supplements in the United States under the “GNC” brand name. GNC, at times, sold certain

dietary supplements in the United States through a network of independent distributors.

       6.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 6 of the Complaint.

       7.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 7 of the Complaint.

       8.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 8 of the Complaint.

       9.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 9 of the Complaint.

       10.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 10 of the Complaint.

       11.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 11 of the Complaint.

       12.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 12 of the Complaint.

       13.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 13 of the Complaint.

       14.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 14 of the Complaint.

       15.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 15 of the Complaint.
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                                COUNT I- NEGLIGENCE - GNC

       16.     In response to paragraph 16 of the Complaint, GNC repeats, reiterates, and

realleges its responses to each and every allegation contained in the Complaint with the same

force and effect as though hereinafter fully set forth at length.

       17.     Denies each and every allegation as plead contained in paragraph 17 of the

Complaint, and respectfully refers all questions of law to the Court.

       18.     Denies each and every allegation contained in paragraph 18 of the Complaint.

       19.     Denies each and every allegation contained in paragraph 19 of the Complaint.

       20.     Denies each and every allegation contained in paragraph 20 of the Complaint.

       21.     Denies each and every allegation contained in paragraph 21 of the Complaint.

       22.     Denies each and every allegation contained in paragraph 22 of the Complaint.

       23.     Denies each and every allegation as plead contained in paragraph 23 of the

Complaint, and respectfully refers all questions of law to the Court.

       24.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph 24 of the Complaint, except denies each and

every such allegation insofar as it is alleged or implied that any injuries or damages suffered by

Plaintiff resulted from culpable conduct of General Nutrition Corporation.

                            COUNT II– STRICT LIABILITY - GNC

       25.     In response to paragraph 25 of the Complaint, GNC repeats, reiterates, and

realleges its responses to each and every allegation contained in the Complaint with the same

force and effect as though hereinafter fully set forth at length.

       26.     GNC admits in part and denies in part the allegations in paragraph 26 of the

Complaint. It admits that it is a retailer of health, wellness and performance products in the

United States, which includes various products as set forth in paragraph 2 of the Complaint. The
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remaining allegations constitute conclusions of law to which no response is required. To the

extent a response is required, the allegations in this paragraph are denied.

          27.   The allegations in paragraph 27 of the Complaint constitute legal conclusions to

which no responsvie pleading is required. The remaining allegations in this paragraph are

denied.

          28.   Denies knowledge or information to form a belief as to whether Plaintiff

purchased or used a GNC product, and if so, for what reason, and denies the remaining

allegations of paragraph 28 of the Complaint.

          29.   Denies knowledge or information to form a belief as to whether Plaintiff

purchased or used a GNC product, and if so, for what reason, and denies the remaining

allegations of paragraph 29 of the Complaint.

                       COUNT III– NEGLIGENCE – GNC HOLDINGS

          30.   In response to paragraph 30 of the Complaint, GNC repeats, reiterates, and

realleges its responses to each and every allegation contained in the Complaint with the same

force and effect as though hereinafter fully set forth at length.

          31.   By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

          32.   By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

          33.   By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

          34.   By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.
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       35.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       36.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       37.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       38.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

             COUNT IV– STRICT PRODUCT LIABILITY – GNC HOLDINGS

       39.     In response to paragraph 39 of the Complaint, GNC repeats, reiterates, and

realleges its responses to each and every allegation contained in the Complaint with the same

force and effect as though hereinafter fully set forth at length.

       40.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       41.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       42.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       43.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

             COUNT III (sic) – NEGLIGENCE – GNC OLDCO CORPORATION

       44.     In response to paragraph 44 of the Complaint, GNC repeats, reiterates, and

realleges its responses to each and every allegation contained in the Complaint with the same

force and effect as though hereinafter fully set forth at length.
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       45.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       46.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       47.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       48.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       49.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       50.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       51.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       52.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

  COUNT IV (sic) – STRICT PRODUCT LIABILITY – GNC OLDCO CORPORATION

       53.     In response to paragraph 44 of the Complaint, GNC repeats, reiterates, and

realleges its responses to each and every allegation contained in the Complaint with the same

force and effect as though hereinafter fully set forth at length.

       54.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       55.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.
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       56.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

       57.     By agreement between the parties, Plaintiff intends to voluntarily dismiss without

prejudice Defendants GNC HOLDINGS, INC. and Defendant GN OLDCO CORPORATION.

                                  AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       The Complaint fails to state a claim upon which relief may be granted.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiff has been unable to identify GNC as causing the alleged injuries, and therefore

has failed to state a cause of action against GNC.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part by the doctrines of laches, waiver and/or

estoppel and the applicable statute of limitations.

                             FOURTH AFFIRMATIVE DEFENSE

       Upon information and belief, Plaintiff had full knowledge of the risks and possible

adverse effects pertaining to the use/misuse of the product(s) at issue here, and all or part of the

alleged injuries, damages, and/or losses (if any) sustained by Plaintiff arose from and were

caused by risks of which Plaintiff was or should have been so aware, and for that reason any

recovery against GNC should be diminished, reduced, offset, or barred in accordance with the

principles of assumption of risk/informed consent and/or failure to follow product labeling

information.
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                               FIFTH AFFIRMATIVE DEFENSE

        Upon information and belief, any injuries, damages and/or losses allegedly sustained by

Plaintiff were caused in whole or in part by preexisting medical conditions, for which GNC

International bears no legal responsibility or liability.

                               SIXTH AFFIRMATIVE DEFENSE

        If Plaintiff sustained any injury or incurred any loss or damages as alleged in the

Complaint, the same were caused in whole or in part by acts or omissions of another or others

over whom GNC neither exercised nor had any right of control, for which GNC is and was not

responsible, and whose conduct GNC had no duty or reason to anticipate or control.

                             SEVENTH AFFIRMATIVE DEFENSE

        If Plaintiff sustained any injury or incurred any loss or damage as alleged in the

Complaint, the same resulted in whole or in part from an intervening or superseding cause and/or

causes, and any action on the part of GNC was not the proximate and/or cause-in-fact of any

alleged injuries.


                              EIGHTH AFFIRMATIVE DEFENSE

        GNC denies that any action or inaction on its part proximately caused or contributed to

the incident or injuries to Plaintiff of which Plaintiff complains in any manner or to any degree.

                               NINTH AFFIRMATIVE DEFENSE

        All claims raised by the Complaint are barred and/or reduced by the doctrine of

contributory negligence and the doctrine of comparative negligence.

                               TENTH AFFIRMATIVE DEFENSE

        Upon information and belief, any injury, loss or damage that Plaintiff may have sustained

was caused in whole or in part by Plaintiff’s own negligence, including but not limited to the

issue that Plaintiff may have contributed to her injuries by the lack of appropriate and timely
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medical care, or the use of other substances, products, medications, and drugs, or that Plaintiff

failed to heed the instructions and/or warnings on the United States product labeling provided by

GNC.

                           ELEVENTH AFFIRMATIVE DEFENSE

        GNC reserves the right to assert that Plaintiff improperly used, misused, abused or used

any product for a purpose other than intended or recommended, should discovery reveal facts

supportive of said defense.

                              TWELFTH AFFIRMATIVE DEFENSE

        Upon information and belief, if Plaintiff has any of the claimed injuries referred to in the

Complaint, such injuries were the result of an operation of nature and/or idiosyncratic reaction

by the Plaintiff.

                          THIRTEENTHAFFIRMATIVE DEFENSE

        If any warranty, guaranty or other representation with respect to the products involved in

this case was made by GNC, then each such warranty, guaranty or representation was fully

satisfied by GNC.

                         FOURTEENTH AFFIRMATIVE DEFENSE

        Plaintiff’s breach of warranty claims are barred by Plaintiff’s failure to provide timely

notice of any alleged breach of warranty.

                           FIFTEENTH AFFIRMATIVE DEFENSE

        To the extent that any of Plaintiff’s claims sound in negligent misrepresentation by any

person or entity other than GNC, such claims should not be directed to GNC.

                           SIXTEENTH AFFIRMATIVE DEFENSE

        GNC claims that the doctrine of federal pre-emption may apply, as the federal

government has preempted the applicable fields of law, and GNC’s products were and are
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controlled by federal law, and were at all times in compliance with applicable federal law with

respect thereto; therefore, the Complaint fails to state a claim upon which relief may be granted

in that, inter alia, such causes of action, if upheld, would impede, impair, frustrate or burden the

effectiveness of federal law regulating the field of dietary supplements and would constitute an

invalid burden by this court on interstate commerce, and would, therefore, violate the Supremacy

Clause (Article VI, Section 2) and the Commerce Clause (Article I, Section 8) of the United

States Constitution.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

       The promotion of the products identified in the Complaint is protected by the First

Amendment to the United States Constitution and similar provisions in the Constitution(s) of the

state(s) in which the Plaintiff resides or resided or where the alleged injuries occurred.

                          EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiff has failed to state a claim against GNC upon which relief may be granted for

punitive or exemplary damages.

                          NINETEENTH AFFIRMATIVE DEFENSE

       The imposition of punitive or exemplary damages against GNC would violate GNC’s

rights under the Fifth, Eighth and Fourteenth Amendments to the United States Constitution and

similar provisions in the Constitution(s) in the state(s) in which the Plaintiff resides or resided or

the alleged injuries occurred.

                          TWENTIETH AFFIRMATIVE DEFENSE

       The application of any Rule of Court providing for the award of prejudgment interest

against GNC on any recovery made by Plaintiff is contrary to law and violates GNC’s right to

due process and equal protection of the law.
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                         TWENTY-FIRST AFFIRMATIVE DEFENSE

       GNC complied with the Dietary Supplement Health and Education Act of 1994

(DSHEA) and all other applicable Federal or State laws.

                        TWENTY-SECOND AFFIRMATIVE DEFENSE

       GNC denies the applicability of the concept of strict liability to this litigation and

reserves the right to assert any and all defenses available under the Restatement (2nd) of Torts

and/or the Restatement (3rd) of Torts Product Liability.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

       The incident and damages, if any, of which Plaintiff complains were proximately caused

by the fault of third persons not parties to this suit. Inasmuch as the liability of GNC and the

right of Plaintiff to recover in this litigation can only be determined after the percentages of fault

of any parties of the incident are determined, whether or not they are parties to this litigation,

GNC seeks an adjudication of the percentage of fault of each and every person whose fault

contributed to this alleged incident.

                        TWENTY-FOURTH AFFIRMATIVE DEFENSE

       Plaintiff failed to mitigate his alleged injuries and damages.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE

       GNC hereby gives notice that it may rely upon such other affirmative defenses as may

become available or apparent during the course of discovery, including any applicable

affirmative defenses proffered by GNC, and thus, it reserves the right to amend this Answer to

assert such defenses.
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                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff may make a claim in the Complaint based on allegations of

concealment, misrepresentation or fraud on the part of GNC, the Complaint fails to state with

particularity the circumstances constituting the alleged concealment, misrepresentation or fraud.

                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE

       GNC is entitled to the benefit of all defenses and presumptions contained in, or arising

from, any rule of law or statute of the State of Illinois and any other state(s) in which the Plaintiff

resides or resided in or where the alleged injuries occurred.

                               DEMAND FOR TRIAL BY JURY

       GNC hereby demands a trial by jury as to all issues.


                                     PRAYER FOR RELIEF

       WHEREFORE, GNC demands judgment dismissing the Complaint in all respects, for the

costs and disbursements of this action, including reasonable attorneys’ fees, and for such other

and further relief as to this Court may seem just and proper.



Dated: April 20, 2018


                                                    By: /s Tia C. Ghattas

                                                    Tia C. Ghattas
                                                    Cozen O’Connor
                                                    123 North Wacker Drive, Suite 1800
                                                    Chicago, IL 60606
                                                    Tel: 312-382-3116
                                                    Fax: 312-382-8910
                                                    tghattas@cozen.com

                                                    Attorneys for GENERAL NUTRITION
                                                    CORPORATION
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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to all counsel of record who have registered with the electronic filing service for

this matter on April 20, 2018. Parties may access this document via the Court’s electronic filing

system.



Dated: April 20, 2018


                                             By:    s/ Tia C. Ghattas
                                                    Tia C. Ghattas
